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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Maria Valez, et al.
                               Plaintiff,
v.                                                 Case No.: 1:13−cv−05626
                                                   Honorable Virginia M. Kendall
Joseph Frugoli, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 15, 2018:


        MINUTE entry before the Honorable Virginia M. Kendall. Parties' Joint Motion
for order of Dismissal with prejudice pursuant to Stipulation [497] is granted. Case is
dismissed with prejudice pursuant to Stipulation. The Court retains jurisdiction over the
pending Sanction hearing regarding Discovery violations. Mailed notice(lk, )




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